     Case 1:16-cv-00010-JDL Document 9 Filed 01/15/16 Page 1 of 9               PageID #: 53

                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

                                             )
RIKKI LYNN WHITE,
                                             )
                                             )
                Plaintiff
                                             )
                                             )
v.
                                             )
                                             )     Docket No. 1:16-cv-10-JDL
WILLIAM E. MULHOLLAND, et al.,
                                             )
                                             )
                Defendants
                                             )


            ANSWER OF DEFENDANT WILLIAM E. MULHOLLAND TO
                        PLAINTIFF’S COMPLAINT

         NOW COMES Defendant, William E. Mulholland , by and through his attorneys,

Richardson, Whitman, Large & Badger, and answers Plaintiff's Complaint as follows:

                                       Jurisdiction and Venue

1.       Defendant Mulholland is without sufficient knowledge or information upon which

         to form a belief as to the truth of the allegations contained in this Paragraph of the

         Plaintiff’s Complaint and therefore denies the same and demands strict proof

         thereof.

2.       Defendant Mulholland is without sufficient knowledge or information upon which

         to form a belief as to the truth of the allegations contained in this Paragraph of the

         Plaintiff’s Complaint and therefore denies the same and demands strict proof

         thereof.

3.       Defendant Mulholland is without sufficient knowledge or information upon which

         to form a belief as to the truth of the allegations contained in this Paragraph of the
     Case 1:16-cv-00010-JDL Document 9 Filed 01/15/16 Page 2 of 9               PageID #: 54

                                               -2-

         Plaintiff’s Complaint and therefore denies the same and demands strict proof

         thereof.

4.       Defendant Mulholland is without sufficient knowledge or information upon which

         to form a belief as to the truth of the allegations contained in this Paragraph of the

         Plaintiff’s Complaint and therefore denies the same and demands strict proof

         thereof.

5.       Defendant Mulholland is without sufficient knowledge or information upon which

         to form a belief as to the truth of the allegations contained in this Paragraph of the

         Plaintiff’s Complaint and therefore denies the same and demands strict proof

         thereof.

6.       Defendant Mulholland is without sufficient knowledge or information upon which

         to form a belief as to the truth of the allegations contained in this Paragraph of the

         Plaintiff’s Complaint and therefore denies the same and demands strict proof

         thereof.

7.       Defendant Mulholland admits that he has been employed as a corrections officer

         for Penobscot County at different points in time. Defendant is without sufficient

         knowledge to admit or deny the additional facts in that paragraph and therefore

         denies the same and demands strict proof thereof. To the extent that some of the

         allegations constitute conclusions of law, they require no answer but to the extent

         that they do, the allegations are denied.

8.       Defendant Mulholland is without sufficient knowledge or information upon which

         to form a belief as to the truth of the allegations contained in this Paragraph of the
     Case 1:16-cv-00010-JDL Document 9 Filed 01/15/16 Page 3 of 9               PageID #: 55

                                               -3-

         Plaintiff’s Complaint and therefore denies the same and demands strict proof

         thereof.

9.       Defendant Mulholland is without sufficient knowledge or information upon which

         to form a belief as to the truth of the allegations contained in this Paragraph of the

         Plaintiff’s Complaint and therefore denies the same and demands strict proof

         thereof.

         WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.

                                             Facts

10.      Defendant Mulholland is without sufficient knowledge or information upon which

         to form a belief as to the truth of the allegations contained in this Paragraph of the

         Plaintiff’s Complaint and therefore denies the same and demands strict proof

         thereof.

11.      Defendant Mulholland admits that William Mulholland was employed as a

         corrections officer at the Penobscot County Jail at specific times. Defendant

         Mulholland is without sufficient knowledge or information upon which to form a

         belief as to the truth of the allegations contained in the remaining allegations of

         this Paragraph of the Plaintiff’s Complaint and therefore denies the same and

         demands strict proof thereof.

12.      The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

13.      The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

14.      The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.
 Case 1:16-cv-00010-JDL Document 9 Filed 01/15/16 Page 4 of 9                PageID #: 56

                                            -4-

15.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

16.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

17.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

18.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.

                                       Count I
                 (Fourth, Fifth, and Eighth Amendment Violations)



19.   Defendant Mulholland repeats and reaffirms the responses to Paragraphs 1 through

      18 with the same force and effect as if more fully set forth herein.

20.   Defendant Mulholland is without sufficient knowledge or information upon which

      to form a belief as to the truth of the allegations contained in this Paragraph of the

      Plaintiff’s Complaint and therefore denies the same and demands strict proof

      thereof.

21.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

22.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

23.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

24.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

25.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.
 Case 1:16-cv-00010-JDL Document 9 Filed 01/15/16 Page 5 of 9                PageID #: 57

                                           -5-

                                       Count II
        (Assault, False Arrest, False Imprisonment, and Invasion of Privacy)

26.   Defendant Mulholland repeats and reaffirms the responses to Paragraphs 1 through

      25 with the same force and effect as if more fully set forth herein.

27.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

28.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.



                                      Count III
                 (Negligent Infliction of Emotional Distress- NIED)

29.   Defendant Mulholland repeats and reaffirms the responses to Paragraphs 1 through

      28 with the same force and effect as if more fully set forth herein.

30.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

31.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.

                                    Count IV
                       (Conspiracy Under 42 U.S.C. §1985(3))

32.   Defendant Mulholland repeats and reaffirms the responses to Paragraphs 1 through

      31 with the same force and effect as if more fully set forth herein.

33.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be
 Case 1:16-cv-00010-JDL Document 9 Filed 01/15/16 Page 6 of 9                PageID #: 58

                                           -6-

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.

                                     Count V
            (Conspiracy to Violate Civil Rights Under 42 U.S.C. § 1983)

34.   Defendant Mulholland repeats and reaffirms the responses to Paragraphs 1 through

      33 with the same force and effect as if more fully set forth herein.

35.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.

                                      Count VI
                                  (Punitive Damages)

36.   Defendant Mulholland repeats and reaffirms the responses to Paragraphs 1 through

      35 with the same force and effect as if more fully set forth herein.

37.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

38.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.

                                   Count VII
          (Due Process- Fourteenth Amendment to the U.S. Constitution)

39.   Defendant Mulholland repeats and reaffirms the responses to Paragraphs 1 through

      38 with the same force and effect as if more fully set forth herein.

40.   The allegations contained in this Paragraph of the Plaintiff’s Complaint comprise a

      legal conclusion to which no answer is required. To the extent that an answer is

      required, Defendant Mulholland denies the same and demands strict proof thereof.
 Case 1:16-cv-00010-JDL Document 9 Filed 01/15/16 Page 7 of 9                PageID #: 59

                                           -7-

41.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

42.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

43.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

44.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

45.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be

dismissed with prejudice, and that Defendant Mulholland be awarded his costs

                                    Count VIII
                           (Maine Tort Claim Act- Assault)

46.   Defendant Mulholland repeats and reaffirms the responses to Paragraphs 1 through

      45 with the same force and effect as if more fully set forth herein.

47.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

48.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

49.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.

                                      Count IX
                         (Negligence- Maine Tort Claim Act)

50.   Defendant Mulholland repeats and reaffirms the responses to Paragraphs 1 through

      49 with the same force and effect as if more fully set forth herein.

51.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

52.   The allegations contained in this Paragraph of the Plaintiff’s Complaint are denied.

      WHEREFORE, Defendant Mulholland demands that the Plaintiff's Complaint be
 Case 1:16-cv-00010-JDL Document 9 Filed 01/15/16 Page 8 of 9                 PageID #: 60

                                            -8-

dismissed with prejudice, and that Defendant Mulholland be awarded his costs.

                             AFFIRMATIVE DEFENSES

       1. Plaintiff’s Complaint fails to state a cause of action upon which relief may be

granted.

       2. The claims against Defendant Mulholland are barred or limited by qualified

immunity.

       3. Plaintiff’s damages were directly and proximately caused by the acts and/or

omissions of an individual and/or entity other than Defendant Mulholland.

       4. Plaintiff’s damages were directly and proximately caused by a legally sufficient

superseding/intervening cause.

       5. Plaintiff has failed to mitigate her damages as required by law.

       6. Plaintiff’s claims are barred by the Prison Litigation Reform Act, 42 U.S.C.

Section 1997, et. seq.

       7. Plaintiff’s claims are barred by her failure to comply with the provisions of the

Maine Tort Claims Act, including but not limited to, the notice provisions.

       8. Defendant Mulholland is entitled to immunity under the Maine Tort Claims

Act.

       9. Defendant Mulholland reserves the right to argue that Plaintiff has failed to

mitigate her damages.

       10. Plaintiff’s damages were caused by her own actions and contributory fault.
 Case 1:16-cv-00010-JDL Document 9 Filed 01/15/16 Page 9 of 9                 PageID #: 61

                                            -9-

       11. Defendant Mulholland adopts and incorporates by reference herein any and all

affirmative defenses asserted by any of the other Defendants in this case, either

previously or in the future.

       DATED at Portland, Maine this 15th day of January, 2016.


                                                  /s/ Elizabeth G. Stouder
                                                  Elizabeth G. Stouder

                                                  /s/ Heidi J. Hart
                                                  Heidi J. Hart
                                                  Attorneys for Defendant
                                                  William E. Mulholland

RICHARDSON, WHITMAN, LARGE & BADGER
465 Congress Street
P. O. Box 9545
Portland, ME 04112-9545
(207) 774-7474

                               CERTIFICATE OF SERVICE

       I, Elizabeth G. Stouder, attorney for Defendant William E. Mulholland, hereby

certifies that the Answer and Affirmative Defenses of Defendant William E. Mulholland

have been served this day on Plaintiff by filing with the Clerk of Court using the

CM/ECF system which will send notification of such filing(s) to all attorneys of record.


Date: January 15, 2016                             /s/ Elizabeth G. Stouder
                                                   Elizabeth G. Stouder
